Case
 Case4:19-cr-00488
      4:19-cr-00488 Document
                     Document161-1
                              141 Filed
                                   Filedon
                                         on03/11/22
                                            09/06/23ininTXSD
                                                         TXSD Page
                                                               Page11ofof55




                                                                   United States District Court
                                                                     Southern District of Texas

                                                                        ENTERED
                                                                       March 14, 2022
                                                                     Nathan Ochsner, Clerk
Case
 Case4:19-cr-00488
      4:19-cr-00488 Document
                     Document161-1
                              141 Filed
                                   Filedon
                                         on03/11/22
                                            09/06/23ininTXSD
                                                         TXSD Page
                                                               Page22ofof55
Case
 Case4:19-cr-00488
      4:19-cr-00488 Document
                     Document161-1
                              141 Filed
                                   Filedon
                                         on03/11/22
                                            09/06/23ininTXSD
                                                         TXSD Page
                                                               Page33ofof55
Case
 Case4:19-cr-00488
      4:19-cr-00488 Document
                     Document161-1
                              141 Filed
                                   Filedon
                                         on03/11/22
                                            09/06/23ininTXSD
                                                         TXSD Page
                                                               Page44ofof55
Case
 Case4:19-cr-00488
      4:19-cr-00488 Document
                     Document161-1
                              141 Filed
                                   Filedon
                                         on03/11/22
                                            09/06/23ininTXSD
                                                         TXSD Page
                                                               Page55ofof55
